                                               United States Bankruptcy Court
                                                 Northern District of Ohio
In re:                                                                                                     Case No. 19-12023-jps
Somica D. Butler                                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0647-1                  User: admin                        Page 1 of 1                          Date Rcvd: Apr 09, 2019
                                      Form ID: 309A                      Total Noticed: 16


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 11, 2019.
db             +Somica D. Butler,    6414 Meadowbrook Road,    Cleveland, OH 44125-4930
25970804       +Andrews Federal Credit Union,    Attn: Mortgage Dept.,     5711 Allentown Road,
                 Suitland, MD 20746-4547
25970806       +City of Cleveland - Division of Water,    1201 Lakeside Avenue,    Cleveland, OH 44114-1100
25970807       +City of Cleveland Law Department,    601 Lakeside Ave East,    Cleveland, OH 44114-1077
25970810       +Northeast Ohio Regional Sewer District,     Attn: Law Department/Bankruptcy,
                 3900 Euclid Avenue,    Cleveland, OH 44115-2506
25970811       +Ohio’s First Class Credit Union,    Po Box 5877,    Cleveland, OH 44101-0877
25970813       +The City of Lakewood,    12805 Detroit Avenue,    Lakewood, OH 44107-2826

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: malden@lawlh.com Apr 09 2019 22:26:33       Matthew Alden,    2012 West 25th Street,
                 Suite 701,    Cleveland, OH 44113
tr             +EDI: FKBCONIGLIO Apr 10 2019 02:03:00       Kari B. Coniglio,    200 Public Square Suite 1400,
                 Cleveland, OH 44114-2327
ust            +E-mail/Text: ustpregion09.cl.ecf@usdoj.gov Apr 09 2019 22:27:18        Cynthia J. Thayer,
                 US Department of Justice,    201 Superior Avenue,    Suite 441,    Cleveland, OH 44114-1234
25970805       +EDI: CAPITALONE.COM Apr 10 2019 02:03:00       Capital One Bank,    Attn: Bankruptcy,
                 PO Box 30285,    Salt Lake City, UT 84130-0285
25970808        EDI: WFNNB.COM Apr 10 2019 02:03:00       Comenity Bank / New York and Company,
                 Bankruptcy Department,    PO Box 182125,    Columbus, OH 43218-2125
25970809       +EDI: CCS.COM Apr 10 2019 02:03:00      Credit Collection Services,     725 Canton Street,
                 Norwood, MA 02062-2679
25971574       +EDI: PRA.COM Apr 10 2019 02:03:00      PRA Receivables Management, LLC,     PO Box 41021,
                 Norfolk, VA 23541-1021
25970812        EDI: RMSC.COM Apr 10 2019 02:03:00      Synchrony Bank/ Old Navy,     PO Box 105972,
                 Atlanta, GA 30348-5972
25970814       +EDI: USBANKARS.COM Apr 10 2019 02:03:00       US Bank Home Mortgage,    4801 Frederica Street,
                 Owensboro, KY 42301-7441
                                                                                               TOTAL: 9

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 11, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 9, 2019 at the address(es) listed below:
              Kari B. Coniglio   kbconiglio@vorys.com,
               mdwalkuski@vorys.com;jnorth@vorys.com;kbc@trustesolutions.net
              Matthew Alden    on behalf of Debtor Somica D. Butler malden@lawlh.com,
               malden@ecf.inforuptcy.com;lsekanic@lawlh.com;arichmond@lawlh.com
                                                                                            TOTAL: 2




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Information to identify the case:
Debtor 1              Somica D. Butler                                                  Social Security number or ITIN        xxx−xx−4007
                      First Name    Middle Name     Last Name                           EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name    Middle Name     Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             Northern District of Ohio
                                                                                        Date case filed for chapter 7 4/5/19
Case number:          19−12023−jps


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                  About Debtor 1:                                    About Debtor 2:

1.      Debtor's full name                        Somica D. Butler

2.      All other names used in the
        last 8 years

3.     Address                                6414 Meadowbrook Road
                                              Cleveland, OH 44125

4.     Debtor's attorney                      Matthew Alden                                         Contact phone 216−586−6600
                                              2012 West 25th Street
       Name and address                       Suite 701                                             Email: malden@lawlh.com
                                              Cleveland, OH 44113

5.     Bankruptcy trustee                     Kari B. Coniglio                                      Contact phone (216) 479−6167
                                              200 Public Square Suite 1400
       Name and address                       Cleveland, OH 44114                                   Email: kbconiglio@vorys.com
                                                                                                               For more information, see page 2 >
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Debtor Somica D. Butler                                                                                                Case number 19−12023−jps


6. Bankruptcy clerk's office                    United States Bankruptcy Court                                Hours open 9:00 AM − 4:00 PM
                                                Howard M. Metzenbaum U.S. Courthouse
    Documents in this case may be filed at this 201 Superior Avenue                                           Contact phone 216−615−4300
    address. You may inspect all records filed Cleveland, OH 44114−1235
    in this case at this office or online at
    www.pacer.gov.                                                                                            Date: 4/9/19
    www.ohnb.uscourts.gov.


7. Meeting of creditors                           May 13, 2019 at 02:00 PM                                    Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a              341 Meeting, H.M.M. US
    questioned under oath. In a joint case,       later date. If so, the date will be on the court            Courthouse, 201 Superior Ave,
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                     6th Floor, Cleveland, OH 44114

                                                          *** Valid photo identification required ***
                                                      *** Proof of Social Security Number required ***


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                 Filing deadline: 7/12/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:
                                                  • if you assert that the debtor is not entitled to
                                                    receive a discharge of any debts under any of the
                                                    subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                    or

                                                  • if you want to have a debt excepted from discharge
                                                    under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:
                                                  • if you assert that the discharge should be denied
                                                    under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as         conclusion of the meeting of creditors
                                                  exempt. If you believe that the law does not authorize an
                                                  exemption claimed, you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                                  debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                  objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                            page 2




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